                       UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF NORTH CAROLINA
                                ASHEVILLE DIVISION

                          DOCKET NO. 1:06CR43
UNITED STATES OF AMERICA,         )
                                  )
               Plaintiff,         )
                                  )                                    FINAL ORDER
          v.                      )                                   OF FORFEITURE
                                  )
ROBERT BLAKE KELLER               )
                                  )
               Defendant.         )


        THIS MATTER is before the Court on the Government’s motion for entry of a final

order of forfeiture.

        On October 27, 2006, this Court entered a Preliminary Order of Forfeiture pursuant to 21

U.S.C. § 853(n) and Fed. R. Crim. P. 32.2(b), based upon the Defendant’s plea of guilty to Count

One in the Bill of Indictment. In that Count, the Defendant was charged with conspiracy to

possess with intent to distribute methamphetamine in violation of 21 U.S.C. §§ 841 and 846.

        On May 8, 2007, the United States published in the McDowell News, a newspaper of

general circulation in McDowell County, North Carolina, notice of this forfeiture and of the

intent of the Government to dispose of the forfeited property in accordance with law, and further

notifying all third parties of their right to petition the Court within thirty days for a hearing to

adjudicate the validity of any alleged legal interest in the property. It appears from the record

that no such claims have been filed.

        IT IS, THEREFORE, ORDERED that the Government’s motion is ALLOWED.

        IT IS FURTHER ORDERED THAT:


                                                   1


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       In accordance with Rule 32.2(c)(2), the Preliminary Order of Forfeiture is confirmed as

final. All right, title, and interest in the following property, whether real, personal, or mixed,

has therefore been forfeited to the United States for disposition according to law:

       Real Property Located at 504 West Main Street, Glen Alpine, North
       Carolina, 28602, as More Particularly Described in a Deed Recorded at Book
       647, Page 891, in the Burke County, North Carolina, Public Registry.


                                                  Signed: September 23, 2007




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